                         Case 6:11-cv-01287-JTM-KMH Document 1-1 Filed 09/21/11 Page 1 of 4

<    f:EOC'Form 161 (11/09)                   u.s. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                      DISMISSAL AND NOTICE OF RIGHTS
    To:     Carroll Lewis                                                                   From:    Kansas City Area Office
            1900 South Rock Road                                                                     Gateway Tower II
            #6105                                                                                    400 State Avenue
            Wichita, KS 67207                                                                        Kansas City, KS 66101


          D                      On behalf of person(s) aggrieved whose identity is
                                 CONFIDENTIAL (29 CFR §1601, 7(a»
     EEOC Charge No,                                 EEOC Representative                                                   Telephone No.

                                                     Mark E. Bretches,
     560-2010-02501                                  Investigator                                                          (913) 551-6641
     THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
          D           The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

          D           Your allegations did not involve a disability as defined by the A.mericam: With Disabilities Act.

          D           The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

          D           Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                      discrimination to file your charge
          00          The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                      information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                      the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
          D           The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

          D           Other (briefly state)



                                                              - NOTICE OF SUIT RIGHTS ­
                                                        (See the additional information attached to this form.)

    Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
    Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
    You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
    lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
    lost. (The time limit for filing suit based on a claim under state law may be different.)

    Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
    alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
    before you file suit may not be collectible.



                                                                                                                          D~'- d=?--l {
    Enclosures(s)                                                                                                                (Date Mailed)


    cc:
                 Human .Resource
                Manager
                CAMELOT
                2050 West 11th Street
                Wichita, KS 6720.1
             Case 6:11-cv-01287-JTM-KMH Document 1-1 Filed 09/21/11 Page 2 of 4
Enr'osure with EEOC
fO[l111b1 (11109)

                                             INFORMATION RELATED TO FILING SUIT
                                           UNDER THE LAWS ENFORCED BY THE EEOC

                               (This information relates to filing suit in Federal or State court under Federal law.
                      If you also plan to sue claiming violations of State law, please be aware that time limits and other
                             provisions of State law may be shorter or more limited than those described below.)



PRIVATE SUIT RIGHTS                    Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
                                       the Genetic Information Nondiscrimination Act (GINA), or the Age
                                       Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90­
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUIT RIGHTS                    Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 1211/08, you should file suit
before 711110 - not 1211/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION                   --   Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited Circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                            --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                 IF YOU FILE SUIT, PLEASE SEND A COpy OF YOUR COURT COMPLAINT TO THIS OFFICE.
                      Case 6:11-cv-01287-JTM-KMH Document 1-1 Filed 09/21/11 Page 3 of 4


.....-;:-­
                      CHARGE OF DISCRIMINA':rlON                                                               Charge Presented    To:           Agency(ies) Charge No(s):

             This form is affected by the Privacy Act of 11:174. See enclosed Privacy Act                         D
                                                                                                                  o
                                                                                                                       FEPA
                    Statement and other information before completing this form
                                                                                                                       EEOC                            560·2010·02501
                                                              Kansas Human Rights Commission                                                                          and EEOC
                                                                               State or local Agency, if any
 Name (mdicate Mr., Ms., Mrs.)                                                                                          Home Phone (Incl. Area Code)                Date of Birth

 Mr. Carroll Lewis                                                                                                         (316) 409·9237
 Street Address                                                                       City. State and ZIP Code

 1900 South Rock Road, #6105, Wichita, KS 67207
 Named is the Employer. Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
 Discriminated Against Me or Others. (If more than two, list under PARTICULARS be/ow.)
 Name                                                                                                                   No. Employees. Members     Phone No. (Include Area COde)

 CAMELOT OF KANSAS                                                                                                          15 -100                    (316) 267-5710
 Street Address                                                                       City. State and ZIP Code

 2050 W. 11th St., Wichita, KS 67203
 Name                                                                                                                  No Employees. Members       Phone No. (Includ-= Area Code)



Street Address                                                                        City, State and ZIP Code



DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                           DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                     Earliest              Latest
  [Z]     RACE        D      COLOR          [ ] ] SEX              D       RELIGION        D       NATIONAL ORIGIN                05-15-2009                  05-21-2010
        [ ] ] RETALIATION          D       AGE
                                                       D        DISABILITY           D       GENETIC INFORMA TION

                  D    OTHER (Specify)                                                                                                  D        CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra shee/(s)):


  I was employed by Respondent from approximately Sept. 2008 to May 21, 2010 when I felt forced to resign ..
  Beginning in approximately May 2009 I was racially harassed by coworkers and supervisors-I complained
  about the harassment, but no action was taken, and the harassment continued. From approximately March
  2010 to May 2010 I was sexually harassed-I reported that also, but no action was taken. In May 2010 after
  a false complaint was made against me, I was suspended, then given the option of a demotion and transfer.
  Since Respondent had failed to address my complaints, but was taking action against me based on a false
  complaint, I felt forced to resign. I believe I was unlawfully discriminated against, harassed, and.
  constructively discharged, based on race, sex, and retaliation, in violation of Title VII of the Civil Rights Act of
  1964, as amended.



                                                                                                                                                            --­
                                                                                                                                                            =
                                                                                                                             RENATA HILL                                . ..

                                                                                                       0
                                                                                                                                                            C/)
                                                                                                                            NOTARY PUBLIC
                                                                                                                           STATE OF KANSAS                  C:J-'
                                                                                                                       My Appt. Exp.    rUr e!U,1.          C·)

                                                                                                                                                           -.
I want this charge filed with both the EEOC and the State or local Agency, if any. I              N~ fOZlate and Local Agency R7iij~irements
will advise the agencies if I change my address or phone number and I will                      I'" ":,.         .0.            . ~"l                      [--.;>
cooperate fully with them in the processing of my charge in accordance with their                                          /V~                              •.
procedures.                                                                                       I swear or affirm that I have read the above charge      ~rrp     that it is true to
I declare under penalty of perjury that the above is true and correct.                            the best of my kn         e, information and belief.
                                                                                                ~CMPLAINNT

                                                                                                       ~q7b
  /1-~g-IO
           Date
                              ~.                   f   .   g Party Signature
                                                                                                  SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                                  (month. day, year)

                                                                                                                       q/!J!6jo
              Case 6:11-cv-01287-JTM-KMH Document 1-1 Filed 09/21/11 Page 4 of 4

   Cp Silclosure with EEOC Form 5 (11/09)


   -   .
  PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request
  personal data and its uses are:

  1.       FORM NUMBERITITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).

  2.       AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

  3.    PRINCIPAL PURPOSES, The purposes of a charge, taken on this form or otherwise reduced to
  writing (whether later recorded on this form or not) are, as applicable under the EEOC anti­
  discrimination statutes (EEOC statutes), to preserve private suit rights under the EEOC statutes,
  to invoke the EEOC's jurisdiction and, where dual-filing or referral arrangements exist, to begin
  state or local proceedings.

 4.    ROUTINE USES. This form is used to provide facts that may establish the existence of matters
 covered by the EEOC statutes (and as applicable, other federal, state or local laws). Information
 given will be used by staff to guide its mediation and investigation efforts and, as applicable, to
 determine, conciliate and litigate claims of unlawful discrimination. This form may be presented to
 or disclosed to other federal, state or local agencies as appropriate or necessary in carrying out
 EEOC's functions. A copy of this charge will ordinarily be sent to the respondent organization
 against which the charge is made.

 5.    WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must be
 reduced to writing and should identify the charging and responding parties and the actions or
 policies complained of. Without a written charge, EEOC will ordinarily not act on the complaint.
 Charges under Title VII, the ADA or GINA must be sworn to or affirmed (either by using this form
 or by presenting a notarized statement or unsworn declaration under penalty of perjury); charges
 under the ADEA should ordinarily be signed. Charges may be clarified or amplified later by
 amendment. It is not mandatory that this form be used to make a charge.

                               NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges
with EEOC will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be
first handled by a FEPA under worksharing agreements. You will be told which agency will handle
your charge. When the FEPA is the first to handle the charge, it will notify you of its final
resolution of the matter. Then, if you wish EEOC to give Substantial Weight Review to the FEPA's
final findings, you must ask us in writing to do so within 15 days of your receipt of its findings.
Otherwise, we will ordi'narily adopt the FEPA's finding and close our file on the charge.

                                            NOTICE OF NON-RETALIATION REQUIREMENTS

 Please notify EEOC or the state or local agency where you filed your charge if retaliation is
taken against you or others who oppose discrimination or cooperate in any investigation or
lawsuit concerning this charge. Under Section 704(a) of Title VII, Section 4(d) of the ADEA,
Section 503(a) of the ADA and Section 207(f) of GINA, it is unlawful for an employerto
discriminate against present or former employees or job applicants, for an employment agency to
discriminate against anyone, or for a union to discriminate against its members or membership
applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation,
proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and Section
503(b) of the ADA prohibits coercion, intimidation, threats or interference with anyone for
exercising or enjoying, or aiding or encouraging others in their exercise or enjoyment of, rights
under the Act.
